Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 1 of 71 PageID #: 11358




                      IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

 In re Boy Scouts of America and            Chapter 11
 Delaware BSA, LLC,
                                            Bankruptcy Case
                   Debtors.                 No. 20-10343 (LSS)

 National Union Fire Insurance Co. of       (Jointly Administered)
 Pittsburgh, PA, et al.,
                   Appellants.              Case No. 22-cv-01237-RGA
                        v.
 Boy Scouts of America, et al.,
             Appellees.

    BRIEF BY APPELLEES THE OFFICIAL COMMITTEE OF TORT
  CLAIMANTS, COALITION OF ABUSED SCOUTS FOR JUSTICE, AND
  PFAU/ZALKIN CLAIMANTS IN RESPONSE TO OPENING BRIEF OF
    INSURERS AND JOINDER IN THE BRIEFS FILED BY FUTURE
                CLAIMANTS’ REPRESENTATIVE
                AND BOY SCOUTS OF AMERICA




DOCS_SF:108205.13 85353/002
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 2 of 71 PageID #: 11359




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DOCS_SF:108205.13 85353/002
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 3 of 71 PageID #: 11360




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DOCS_SF:108205.13 85353/002
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 4 of 71 PageID #: 11361




                                   CORPORATE DISCLOSURE
         Pursuant to Federal Rule of Bankruptcy Procedure 8012, the undersigned

Appellees make the following disclosures:

                              The Official Committee of Tort Claimants
         The Official Committee of Tort Claimants (the “TCC”) was appointed by

the Office of the United States Trustee for Region 3, pursuant to section 1102 of

the Bankruptcy Code, on March 5, 2020 [Bankr. D.I. 142],1 to represent the

interests of all Survivor claimants.

                               Coalition of Abused Scouts for Justice

         The Coalition of Abused Scouts for Justice (the “Coalition”) is an ad hoc

group of Survivor claimants consisting of approximately 18,000 holders of Abuse

Claims.

                                       Pfau/Zalkin Claimants

         The Pfau/Zalkin Claimants is an ad hoc group of two law firms consisting of

Pfau Cochran Vertetis Amala PLLC and The Zalkin Law Firm, P.C.




1
  “D.I. __” refers to documents filed in this consolidated appeal docket (Case No. 22-cv-01237
(RGA)). “Bankr. D.I. ___” refers to documents filed in the main bankruptcy case that is the
subject of this appeal (Case No. 20-10343 (LSS)). “A__” refers to documents included in the
Notice of Lodging of Multimedia Filing filed by the Certain Insurers [D.I. 47]. “ADV__” refers
to documents in the Appendix to the D&V Claimants’ Opening Brief [D.I. 46] and “ALW” refers
to documents in the Appendix to the Lujan Claimants’ Opening Brief [D.I. 44]. “SA__” refers to
documents included in the Debtors’ supplemental appendix to its brief.


DOCS_SF:108205.13 85353/002
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 5 of 71 PageID #: 11362




(“Pfau/Zalkin”), that collectively represent approximately 1,300 Survivor

claimants.




DOCS_SF:108205.13 85353/002
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 6 of 71 PageID #: 11363




                                         TABLE OF CONTENTS

                                                                                                                     Page


I.       INTRODUCTION ..........................................................................................1
II.      JURISDICTIONAL STATEMENT ...............................................................5
III.     STANDARD OF REVIEW ............................................................................5
IV.      JOINDER IN APPELLEE BRIEFS ...............................................................6
V.       STATEMENT OF THE CASE ......................................................................7
         A.       The Debtors’ Bankruptcy Cases ...........................................................7
                  1.   Notifying Creditors of the Claims Bar Date ..............................7
                  2.   Negotiating a Confirmable Plan ................................................8
                  3.   The Plan Maximizes the Debtors’ Assets for the Benefit
                       of Creditors ..............................................................................10
         B.       The TDP .............................................................................................12
                  1.   Expedited Distribution .............................................................13
                  2.   Trust Claim Submission ...........................................................14
                  3.   Tort System Alternative ...........................................................15
                  4.   Independent Review Option ....................................................16
                  5.   Additional Protections for Non-Settling Insurance
                       Companies ................................................................................18
VI.      ARGUMENT ................................................................................................19
         A.       Summary of Good-Faith Argument ...................................................19
         B.       Good-Faith Under Section 1129(a)(3) ...............................................19
         C.       The Bankruptcy Court Properly Employed a “Totality of
                  Circumstances” Approach in Considering the Good Faith of
                  the Plan ...............................................................................................21
         D.       Denial of Confirmation Based on a Lack of Good Faith Is an
                  Extraordinary Remedy That Is Only Applied in the Most
                  Egregious of Circumstances ...............................................................26
                  1.     The Cases Cited by the Insurers Are Inapposite and
                         Have No Bearing on the Bankruptcy Court’s Finding
                         That the Plan Was Proposed in “Good Faith” .........................26
                  2.     The Negotiation of the Plan Was Consistent With the
                         Debtors’ Obligations to Its Creditors .......................................39



DOCS_SF:108205.13 85353/002                                  i
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 7 of 71 PageID #: 11364




         E.       Resolution of Claims Through Trust Distribution Procedures Is
                  a Hallmark of Mass Tort Cases ..........................................................47
         F.       The Plan and TDP Contain Numerous Provisions That
                  Specifically Preserve the Rights of Non-Settling Insurance
                  Companies ..........................................................................................50
         G.       Modifications to the Plan Prior to Confirmation Do Not
                  Evidence a Lack of Good Faith ..........................................................51
VII. CONCLUSION.............................................................................................54




DOCS_SF:108205.13 85353/002                                ii
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 8 of 71 PageID #: 11365




                                     TABLE OF AUTHORITIES

                                                                                                           Page(s)

                                                     CASES
Amadeo v. Zant,
 486 U.S. 214 (1988) ...............................................................................................6
Anderson v. Bessemer City,
  470 U.S. 573 (1985) ...............................................................................................6
Arch Ins. Co. v. Murdock,
  2019 Del. Super LEXIS 227 (May 7, 2019) ........................................................44
Armstrong World Indus., v. Aetna Cas. & Sur.,
  45 Cal. App. 4th 1 (1996) .....................................................................................45
ARTRA 542(g) Asbestos Trust v. Fairmont Premier Ins. Co.,
 2011 U.S. Dist. LEXIS 118884 (N.D. Ill. Sept. 30, 2011)...................................47
Berger v. TWA
  (In re TWA),
  96 F.3d 687 (3d Cir. 1996) ...................................................................................38
Cal. Dep’t of Toxic Sub. Control v. Exide Holdings
 (In re Exide Holdings),
 2021 U.S. Dist. LEXIS 138478 (D. Del. July 26, 2021) ........................................5
Certain Underwriters v. Federal-Mogul Glob.
 (In re Federal-Mogul Glob.),
 402 B.R. 625 (D. Del. 2009) ..................................................................................6
Chapman v. Bituminous Ins. Co.
 (In re Coho Res.),
 345 F.3d 338 (5th Cir. 2003) ................................................................................47
Chemetron Corp v. Jones,
 72 F.3d 341 (3d Cir. 1995) ...................................................................................37
Czyzewski v. Jevic Holding Corp.,
  580 U.S. 451 (2017) .............................................................................................39
Flintkote Co. v. Aviva PLC,
  177 F. Supp. 3d 1165 (N.D. Cal. 2016) ...............................................................42




DOCS_SF:108205.13 85353/002                              iii
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 9 of 71 PageID #: 11366




Fuller-Austin Insulation Co. v. Highlands Ins. Co.,
  135 Cal. App. 4th 958 (2006) ...............................................................................42
Houston v. Edgeworth
 (In re Edgeworth),
 993 F.2d 51 (5th Cir. 1993) ..................................................................................47
In re 1250 Oceanside Partners,
  519 B.R. 802 (Bankr. D. Haw. 2014) ...................................................................40
In re 203 N. LaSalle St. P’ship,
  126 F.3d 955 (7th Cir.1997) ...................................................................................6
In re Abbotts Dairies,
  788 F.2d 143 (3d Cir. 1986) .................................................................................20
In re ACandS, Inc.,
  311 B.R. 36 (Bankr. D. Del. 2004)................................................................ 28, 29
In re American Capital Equip.,
  688 F.3d 145 (3d Cir. 2012) ........................................................................ 26, 28
In re Andreuccetti,
  975 F.2d 413 (7th Cir. 1992) ..................................................................................6
In re Combustion Engineering,
  391 F.3d 190 (3d Cir. 2004) .......................................................................... 50, 52
In re Coram Healthcare Corp.,
  271 B.R. 228 (Bankr. D. Del. 2001).....................................................................28
In re Emerge Energy Servs.,
  2019 Bankr. LEXIS 3717 (D. Del. Dec. 5, 2019) ................................................32
In re Energy Future Holdings,
  619 B.R. 99 (Bankr. D. Del. 2020).......................................................................37
In re Federal-Mogul Glob.,
  684 F.3d 355 (3d Cir. 2012) .................................................................... 11, 48, 51
In re FF Holdings Corp.,
  343 B.R. 84 (D. Del. 2006) ..................................................................................40
In re Genco Shipping & Trading,
  509 B.R. 455 (Bankr. S.D.N.Y. 2014) .................................................................39
In re Genesis Health Ventures, Inc.,
  266 B.R. 591 (Bankr. D. Del. 2001).............................................................. 53, 54



DOCS_SF:108205.13 85353/002                            iv
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 10 of 71 PageID #: 11367




 In re Global Indus. Techs.,
   2013 Bankr. LEXIS 594 (Bankr. W.D. Pa. Feb. 13, 2013)..................................32
 In re Global Industrial Technologies,
   645 F.3d 201 (3d Cir. 2011) .......................................................................... 30, 31
 In re Grasso,
   490 B.R. 500 (Bankr. E.D. Pa. 2013) ...................................................................52
 In re Hovensa LLC,
   No. 15-10003 (Bankr. D.V.I Sept. 15, 2015) .......................................................48
 In re Integrated Telecom Express,
   384 F.3d 108 (3d Cir. 2004) .......................................................................... 32, 33
 In re Ionosphere Clubs,
   113 B.R. 64 (Bankr. S.D.N.Y. 1990) ...................................................................41
 In re Johnson,
   546 B.R. 83 (Bankr. S.D. Ohio 2016) ..................................................................39
 In re Kaiser Gypsum Co.,
   2021 U.S. Dist. LEXIS 146354 (W.D.N.C. July 28, 2021) .......................... 48, 49
 In re M&G,
   599 B.R. 256 (Bankr. D. Del. 2019).....................................................................40
 In re Mallinckrodt plc,
   No. 20-12522 (Bankr. D. Del. Oct. 12, 2020) ......................................................48
 In re Maremont Corp.,
   601 B.R. 1 (Bankr. D. Del. 2019).........................................................................20
 In re Marvel Ent. Grp.,
   140 F.3d 463 (3d Cir. 1998) .................................................................................41
 In re Metex Mfg. Corp.,
   No. 12-14554 (Bankr. S.D.N.Y. Nov. 9, 2012) ...................................................48
 In re Paddock Ent. LLC,
   No. 20-10028 (Bankr. D. Del. Jan 6, 2020) .........................................................48
 In re Paddock Enter.,
   2022 Bankr. LEXIS 1521 (Bankr. D. Del. May 31, 2022) ........................... 48, 52
 In re PG&E Corp.,
   No. 19-30088 (Bankr. N.D. Cal. Jan 29, 2019)....................................................48
 In re Purdue Pharma LP,
   No. 19-23649 (Bankr. S.D.N.Y. Sept. 15, 2019) .................................................48

 DOCS_SF:108205.13 85353/002                            v
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 11 of 71 PageID #: 11368




 In re PWS Holding,
   228 F.3d 224 (3d Cir. 2000) .......................................................................... 20, 26
 In re RTI Holding Co.,
   2021 Bankr. LEXIS 2952 (Bankr. D. Del. Oct. 27, 2021) ...................................53
 In re TCI Holdings, LLC,
   428 B.R. 117 (Bankr. D.N.J. 2010) ......................................................................26
 In re USA Gymnastics,
   No. 18-09108 (Bankr. S.D. Ind. Dec. 5, 2018) ....................................................48
 In re W.R. Grace & Co.,
   446 B.R. 96 (Bankr. D. Del. 2011).......................................................................44
 In re W.R. Grace & Co.,
   729 F.3d 332 (3d Cir. 2013) .................................................................. 4, 5, 19, 20
 In re W.R. Grace & Co.,
   475 B.R. 34 (D. Del. 2012) .......................................................................... passim
 In re Yarway Corp.,
   No. 13-11025 (Bankr. D. Del. April 22, 2013) ....................................................48
 Nat’l Union Fire Ins. Co. v. Porter Hayden Co.,
  2012 U.S. Dist. LEXIS 29568 (D. Md. Mar. 6, 2012) .........................................47
 Official Comm. v. Nucor Corp.
   (In re SGL Carbon Corp.),
   200 F.3d 154 (3d Cir. 1999) .................................................................................33
 Opt-Out Lenders v. Millennium Lab Holdings
  (In re Millennium Lab Holdings),
  591 B.R. 559 (D. Del. 2018) ..................................................................................5
 Owasaki v. Jet Fla. Sys.
  (In re Jet Fla. Sys.),
  883 F.2d 970 (11th Cir. 1989) ....................................................................... 47, 48
 Search Mkt. Direct v. Jubber
   (In re Paige),
   685 F.3d 1160 (10th Cir. 2012) ..............................................................................6
 Tucker v. Am. Int’l Grp.,
   745 F. Supp. 2d 53 (D. Conn. 2010) ....................................................................48
 UNR Indus. v. Continental Cas. Co.,
  942 F.2d 1101 (7th Cir. 1991) ..............................................................................47


 DOCS_SF:108205.13 85353/002                            vi
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 12 of 71 PageID #: 11369




 Western Real Estate Equit., v. Village at Camp Bowie
  (In re Village at Camp Bowie),
  710 F.3d 239 (5th Cir. 2013) ..................................................................................5
                                     STATUTES
 11 U.S.C. § 1127 ......................................................................................................52
 11 U.S.C. § 1129 ......................................................................................................19
                                   OTHER AUTHORITIES
 14A Couch on Ins. § 204:120 ........................................................................... 44, 45
 44 Am. Jur. 2d Insurance § 1391...................................................................... 44, 45
 Francis E. McGovern, The Evolution of Asbestos Bankruptcy Trust Distribution
   Plans, 62 NYU Annual Survey of Am. Law 163, 175 (2006) .............................48




 DOCS_SF:108205.13 85353/002                               vii
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 13 of 71 PageID #: 11370




          The TCC, Coalition, and Pfau/Zalkin, each an appellee herein (collectively,

 the “Survivor Claimant Appellees”) and, together with the Future Claimants’

 Representative (the “FCR”), the “Survivor Representatives”), hereby submit this

 brief in response to the Opening Brief of Certain Insurers [D.I. 43], and state as

 follows:

     I.   INTRODUCTION

          The Boy Scouts of America (and its affiliate, BSA Delaware, LLC,

 collectively, the “Debtors” or “BSA”) commenced their bankruptcy cases with the

 stated goal of confirming a plan that would provide “equitable compensation to

 victims of abuse in its Scouting programs.” [Bankr. D.I. 4 at 5].2 The Debtors

 achieved that goal after nearly three years of hard-fought settlement negotiations

 with the Survivor Representatives, the Ad Hoc Committee of Local Councils, some

 of BSA’s largest Chartered Organizations, and numerous settling insurance

 companies. The Plan, negotiated and ultimately supported by all major

 constituencies and confirmed by the Bankruptcy Court, preserves and maximizes

 the value of assets available to survivors of childhood sexual abuse (the

 “Survivors”)—many of whom have been waiting decades for resolution—and




 2
  Capitalized terms not defined herein have the meaning ascribed to them in the Third Modified
 Fifth Amended Chapter 11 Plan of Reorganization [D.I. 1-4] (the “Plan”) and Supplemental
 Findings of Fact and Conclusions of Law and Order Confirming the Third Modified Fifth
 Amended Chapter 11 Plan of Reorganization [D.I. 1-1] (the “Confirmation Order”).


 DOCS_SF:108205.13 85353/002                   1
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 14 of 71 PageID #: 11371




 ensures that the Debtors’ assets will be distributed fairly and efficiently through a

 settlement trust (the “Trust”). To date, the committed funding of the Trust totals

 approximately $2.5 billion.

          Nonetheless, to obtain the full payment to which they are entitled, Survivors

 must rely upon the efforts of the Trust to be reimbursed under the insurance

 policies issued by Non-Settling Insurance Companies. Non-Settling Insurance

 Companies, however, have a financial interest in delaying or preventing payout on

 their policies. Certain of these insurers (the “Insurers”) have claimed that the

 implementation of the Trust is impermissible. The Insurers’ challenges in these

 appeals include misguided objections to the appropriate judgment-reduction

 provisions and structured claims process under the Plan. These issues are

 addressed in the Debtors’ and FCR’s responsive briefs, in which the Survivor

 Claimant Appellees join.

          This brief specifically addresses the Insurers’ contention that the Bankruptcy

 Court erred in finding that the Plan was proposed in “good faith and not by any

 means forbidden by law,” as required by Bankruptcy Code section 1129(a)(3).

 The Insurers contend the Plan is not in good faith because it does not sufficiently

 protect the Insurers’ interests in minimizing their obligations under the applicable

 insurance policies. The Insurers’ assertions are based, presumably, on typical

 contractual provisions found in insurance policies that require the Debtors’



 DOCS_SF:108205.13 85353/002                 2
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 15 of 71 PageID #: 11372




 prepetition cooperation with insurers in their defense of claims. However, the

 Debtors have a postpetition fiduciary obligation to all their creditors to preserve

 and maximize the value of their assets—including their nonsettled insurance assets.

 The Insurers’ position, that the Debtors were duty-bound postpetition to defer to

 the interests of their insurer-obligors to the detriment of their creditors, if adopted,

 would upend the legal requirements for confirming a plan and the basic principles

 of the Bankruptcy Code that have guided mass-tort and other bankruptcies for

 decades.

          The Insurers argue that the following actions by the Debtors, collectively,

 reflect their “bad faith”: (a) negotiating a Plan with the Debtors’ primary creditor

 groups (which is encouraged and expected in all chapter 11 cases), (b)

 incorporating a trust-based claims resolution procedure in the Plan (as is done in

 virtually all mass-tort bankruptcy cases), and (c) revising the Plan at the

 Bankruptcy Court’s urging prior to reaching the confirmed version of the Plan

 (which regularly occurs in connection with plan confirmation hearings). The

 Insurers also argue that the fact that more than 82,000 Direct Abuse Claims were

 asserted prior to the claims bar date supports a finding that the Debtors’ conduct in

 proposing the Plan was in bad faith.

          None of these actions, individually or collectively, support a finding that the

 Debtors did not act in good faith in proposing the Plan. Indeed, the Insurers appear



 DOCS_SF:108205.13 85353/002                 3
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 16 of 71 PageID #: 11373




 to concede that none of these individual issues of which they complain gives rise to

 bad faith on its own and are reduced to the illogical proposition that the whole of

 the Debtors’ good faith actions, taken together, somehow constitute bad faith.

          In assessing good faith, the United States Court of Appeals for the Third

 Circuit directs courts to look broadly at whether a plan (a) fosters a result

 consistent with the Bankruptcy Code’s objectives, (b) has been proposed with

 honesty and good intentions and with a basis for expecting that reorganization can

 be effected, and (c) exhibits a fundamental fairness in dealing with creditors. In re

 W.R. Grace & Co., 729 F.3d 332, 348 (3d Cir. 2013) (quoting lower court, 475

 B.R. 34, 88 (D. Del. 2012)).3 This is the “holistic” review that the law requires,

 and the review that the Bankruptcy Court undertook in finding that the Plan

 “fosters a result consistent with the [Bankruptcy] Code, is proposed for the purpose

 of reorganizing and delivers value to creditors.”4

          Thus, this Court should determine that the Bankruptcy Court did not commit

 clear error in making its factual finding that the Plan was proposed in good faith

 and not by any means forbidden by law and, for the reasons set forth herein and in

 the responsive briefs filed by the Debtors and FCR, affirm the Confirmation Order.




 3
   D.I. 1-3 at 212 n.621.
 4
   D.I. 1-3 at 239.

 DOCS_SF:108205.13 85353/002                 4
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 17 of 71 PageID #: 11374




 II.      JURISDICTIONAL STATEMENT

          The Bankruptcy Court had subject matter jurisdiction to enter a final order

 confirming the Plan pursuant to 28 U.S.C. §§ 157(a) and (b) and 1334. This Court

 has jurisdiction to hear these appeals under 28 U.S.C. § 158(a)(1), which confers

 jurisdiction to district courts to hear appeals from “final judgments, orders, and

 decrees” of bankruptcy courts.

 III. STANDARD OF REVIEW

          The Bankruptcy Court’s factual findings are reviewed for clear error. See

 Opt-Out Lenders v. Millennium Lab Holdings (In re Millennium Lab Holdings),

 591 B.R. 559, 570 (D. Del. 2018), aff’d, 954 F.3d 126 (3d Cir. 2019). Whether a

 plan has been proposed in good faith as required by Bankruptcy Code section

 1129(a)(3) is a factual question, also subject to the clearly erroneous standard. See

 In re PWS Holding Corp., 228 F.3d 224, 242 (3d Cir. 2000) (“[D]eterminations of

 fact pertaining to good faith are reviewed for clear error.”); Cal. Dep’t of Toxic

 Sub. Control v. Exide Holdings (In re Exide Holdings), 2021 U.S. Dist. LEXIS

 138478, *39 (D. Del. July 26, 2021) (“The good-faith determination is ‘a factual

 inquiry into a totality of the circumstances surrounding the plan's proposal,’ and

 ‘bankruptcy courts are in the best position to ascertain the good faith of the parties'

 proposals.’”)(quoting W.R. Grace, 475 B.R. 34, 87 (D. Del. 2012), aff'd, 532 F.

 App’x 264 (3d Cir. 2013)); see also Western Real Estate Equit., v. Village at Camp


 DOCS_SF:108205.13 85353/002                5
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 18 of 71 PageID #: 11375




 Bowie (In re Village at Camp Bowie), 710 F.3d 239, 247 (5th Cir. 2013); Search

 Mkt. Direct v. Jubber (In re Paige), 685 F.3d 1160, 1178 (10th Cir. 2012) (citing

 In re 203 N. LaSalle St. P’ship, 126 F.3d 955, 969 (7th Cir.1997)); In re

 Andreuccetti, 975 F.2d 413, 420 (7th Cir. 1992).

          The “clearly erroneous” standard of review is highly deferential; where a

 bankruptcy court’s “‘account of the evidence is plausible in light of the record

 viewed in its entirety, the court of appeals may not reverse it even though

 convinced that had it been sitting as the trier of fact, it would have weighed the

 evidence differently.’” Amadeo v. Zant, 486 U.S. 214, 223 (1988) (quoting

 Anderson v. Bessemer City, 470 U.S. 573-74 (1985)).

          A bankruptcy court’s legal conclusions, including a determination that it has

 subject-matter jurisdiction, are reviewed de novo. Certain Underwriters v.

 Federal-Mogul Glob. (In re Federal-Mogul Glob.), 402 B.R. 625, 630 (D. Del.

 2009).

 IV.      JOINDER IN APPELLEE BRIEFS

          The Survivor Claimant Appellees hereby join in the Future Claimants’

 Representative’s Answering Brief and Debtors-Appellees’ Consolidated Answering

 Brief, both being filed contemporaneously herewith.




 DOCS_SF:108205.13 85353/002                6
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 19 of 71 PageID #: 11376




 V.        STATEMENT OF THE CASE

           The Survivor Claimant Appellees hereby incorporate the Statement of the

 Case set forth in the Debtors-Appellees’ Consolidated Answering Brief and Future

 Claimants’ Representative’s Answering Brief, and provide the following additional

 background information.

           A.      The Debtors’ Bankruptcy Cases

           To confirm a chapter 11 plan, the Debtors had to accomplish three tasks:

 (1) notifying substantially all of their creditors of their bankruptcy cases, (2)

 negotiating a plan that claimants would overwhelmingly support, and (3) securing

 and maximizing the assets of the bankruptcy estates, including insurance assets.

                   1.          Notifying Creditors of the Claims Bar Date

           Immediately prior to and after the commencement of the Debtors’

 bankruptcy cases, numerous states opened “statutory windows” that revived Abuse

 claims that would otherwise be out-of-statute.5

           On May 26, 2020, the Bankruptcy Court issued an order (the “Bar Date

 Order”) requiring that holders of Abuse claims file proofs of claim by November

 16, 2020, or forfeit their rights to bring any claims against the BSA.6




 5
     D.I. 1-3 at 20; Bankr. D.I. 9280 ¶ 42.
 6
     Bankr. D.I. 695; D.I. 1-3 at 21-22.


 DOCS_SF:108205.13 85353/002                      7
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 20 of 71 PageID #: 11377




          In addition, the Bar Date Order expressly provided that:

                   For the avoidance of doubt, even if the Sexual Abuse
                   Claim is time-barred under an applicable statute of
                   limitations, each Sexual Abuse Survivor is required to
                   file a Sexual Abuse Survivor Proof of Claim in order
                   to preserve the right to pursue a Sexual Abuse
                   Claim.7

          The Bar Date Order also approved an extensive noticing campaign that

 included multiple media campaigns directed at both broad and targeted audiences

 and special procedures for providing actual and constructive notice to known and

 unknown survivors of Scouting-related abuse.8

          The Debtors’ efforts in notifying all potential creditors were successful:

 approximately 82,200 unique Direct Abuse Claims were filed before the Bar Date.9

                   2.          Negotiating a Confirmable Plan

          Beginning in June 2021, the Debtors engaged in discussions with the

 Survivor Representatives regarding plan terms that would be acceptable to their

 largest creditor constituency.10 During these negotiations, in addition to increased

 cash contributions from the Debtors and other settling parties, the Survivor

 Representatives made clear to the Debtors that preservation and maximization of

 the insurance assets required ensuring that the Trust Distribution Procedures


 7
   Bankr. D.I. 695 at 7 (emphasis in original).
 8
   Bankr. D.I. 695; D.I. 1-3 at 21-22.
 9
   Bankr. D.I. 6445 § V.M.4; SA__ (JTX 14); Bankr. D.I. 9317.
 10
    Bankr. D.I. 9309 ¶¶ 24-25.

 DOCS_SF:108205.13 85353/002                      8
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 21 of 71 PageID #: 11378




 (“TDP”) were reasonable and supported by evidence.11 Although the plan then

 proposed by the Debtors did not have the support of the TCC and Pfau/Zalkin, the

 Debtors circulated that plan to creditors for voting.12

           Subsequently, the Debtors, the Coalition, and the FCR engaged in

 negotiations with the TCC and Pfau/Zalkin to garner their support. On February 9,

 2022, the TCC and Pfau/Zalkin signed a Term Sheet that reflected a global

 settlement of their objections to the Plan (the “TCC Term Sheet”).13

           On February 15, 2022, Debtors filed the Plan incorporating the terms of the

 TCC Term Sheet and other post-solicitation revisions, settlements, and

 resolutions.14 After a hearing, the Debtors submitted supplemental disclosures

 targeted to holders of claims in Plan Class 8 (Direct Abuse Claims) and Class 9

 (Indirect Abuse Claims) explaining the modifications to the Plan and providing an

 opportunity to change their vote.15

           The Bankruptcy Court conducted a three-week trial regarding confirmation

 of the Plan. In a 269-page Confirmation Opinion,16 the Bankruptcy Court

 overruled the Plan objections, except as specifically noted. In consultation with



 11
    Bankr. D.I. 9395 ¶¶ 36-40, 67-69.
 12
    Bankr. D.I. 6445 at 6 n. 12.
 13
    Bankr. D.I. 8772.
 14
    Bankr. D.I. 8817.
 15
      Bankr. D.I. 8905.
 16
      See D.I. 1-3.

 DOCS_SF:108205.13 85353/002                 9
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 22 of 71 PageID #: 11379




 the parties supporting the Plan, the Debtors amended the Plan to conform to the

 Confirmation Opinion and to ensure the Confirmation Order was accurate and

 unambiguous. The Bankruptcy Court then issued the Confirmation Order

 approving the Plan, as revised.

                   3.          The Plan Maximizes the Debtors’ Assets for the Benefit of
                               Creditors
          The Plan channels Abuse claims against the Debtors, Local Councils,

 Settling Insurance Companies, and certain Chartered Organizations to the Trust for

 determination and payment. The Trust will evaluate claims pursuant to the criteria,

 processes, and values set forth in the TDP, which were based on the Debtors’

 prepetition claims settlement practices.17 The Trust will be funded by

 contributions from BSA, the Local Councils, settlements reached with four

 insurance companies, and Chartered Organizations that will provide approximately

 $2.5 billion in committed funding for Abuse Claimants.18 Crucially, the Trust will

 also receive the rights to proceeds under unsettled insurance policies issued to the

 Debtors and Local Councils by the Non-Settling Insurance Companies and valued

 at over $4 billion, and perhaps far more, depending upon the ultimate liquidated

 amount of the Abuse claims.19




 17
    D.I. 1-3 at 211-212; D.I. 1-1 at 25-26, ¶ 19.
 18
    D.I. 1-3 at 163.
 19
    Id.; Bankr. D.I. 9398 ¶ 121.

 DOCS_SF:108205.13 85353/002                        10
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 23 of 71 PageID #: 11380




          The Plan and the Confirmation Order need not be “insurance neutral.” In an

 insurance-neutral plan, insurers are exempted from the otherwise applicable effects

 of the Bankruptcy Code and, on that basis, are denied standing to object to a plan.20

 Here, insurers were not carved out of the otherwise applicable effects of the Plan

 and Confirmation Order and, consequently, were provided a robust opportunity to

 object to any provision that they believed impermissibly impacted their rights.

          The Plan and Confirmation Order contain numerous provisions that preserve

 such insurers’ rights and defenses. For example, the Plan states that the transfer of

 the bankruptcy estates’ causes of action to the Trust “shall not impair, affect, alter,

 or modify the right of any . . . insurer or alleged insurer . . . sued on account of an

 Abuse Claim or on account of any asserted right relating to any Abuse Insurance

 Policy, to assert each and every defense or basis for claim reduction.”21

 Additionally, the Plan explicitly provides that, subject to the effects of the

 Confirmation Order and the approval of the Plan itself, the Trust’s assumption of

 and power to resolve Abuse Claims may not affect any Non-Settling Insurance

 Company’s obligations under or ability to assert defenses relating to insurance

 policies to the extent such rights exist and are available under applicable law.22


 20
    For example, insurance policies regularly include anti-assignment clauses; however, the
 Bankruptcy Code preempts such state law limitations with respect to the debtors’ policies. In re
 Federal-Mogul Glob., 684 F.3d 355, 365-82 (3d Cir. 2012).
 21
    D.I. 1-4 at 71 (Plan § IV.D.4).
 22
    D.I. 1-4 at 67 (Plan § IV.C.1), 79 (Plan § V.N).

 DOCS_SF:108205.13 85353/002                    11
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 24 of 71 PageID #: 11381




 Further, the Plan preserves the Non-Settling Insurance Companies’ rights with

 respect to their obligation to pay the amount of a Direct Abuse Claim as

 determined by the Trust as well as their right to assert contribution claims.23 The

 Trust’s rights on the one hand, and the Non-Settling Insurance Companies’ rights

 on the other, are to be determined in subsequent litigation.24

          B.       The TDP

          The TDP provide for the implementation of Bankruptcy Court-approved,

 anti-fraud measures and a robust and neutral process pursuant to which the

 Settlement Trustee will weed out illegitimate claims.25

        The TDP are designed to emulate the Debtors’ prepetition claims handling

 practices and historical claim resolutions.26 Prior to the commencement of their

 bankruptcy cases, in resolving claims, the Debtors and their defense counsel

 weighed many factors, including the severity of the alleged Abuse, the negative

 publicity from the claim, BSA’s negligence, the likelihood of prevailing on a

 defense (including a defense based on statute of limitations), the likelihood of

 success on the overall claim under the applicable law, and the potential cost in



 23
    D.I. 1-1 at 9 (Confirmation Order § II.I.4), modifying D.I. 1-4 (Plan § IX.A.3.y); D.I. 1-4 at
 123 (Plan § X.G.6).
 24
    D.I. 1-1 at 8 (Confirmation Order § II.I.2), modifying D.I. 1-4 (Plan § IX.A.3.j); see also D.I.
 1-1 at 55 (Confirmation Order ¶ III.48(a), modifying D.I. 1-4 (Plan § X.M.1).
 25
    D.I. 1-3 at 211-212; D.I. 1-1 at 25-26, ¶ 19.
 26
    Bankr. D.I. 9309, ¶ 9; Bankr. D.I. 9273, ¶¶ 52-65.

 DOCS_SF:108205.13 85353/002                     12
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 25 of 71 PageID #: 11382




 litigating the claim, among other factors.27 The Debtors often settled claims, albeit

 for reduced compensation, even where they believed they had strong defenses or

 were otherwise likely to succeed in litigation.28

          The TDP also seek to balance the dual considerations of rigorous review and

 evidentiary process with the efficient administration of those claims that satisfy the

 TDP’s requirements.29 The TDP are designed to achieve a fair evaluation of

 claims by one of four paths by which Direct Abuse Claims are liquidated and

 ultimately allowed or denied.30

                   1.          Expedited Distribution

          Approximately 8,000 Direct Abuse Claims elected the Expedited

  Distribution, which provides a payment of $3,500 on account of such claim if a

  claimant timely submitted a substantially complete and non-duplicative proof of

  claim personally signed or verified by the claimant under penalty of perjury.31

  The Expedited Distribution serves the same function as an “early out” option that

  is common practice for defendants—including the Debtors and their insurers.32



 27
    Griggs Decl., Bankr. D.I. 9273 ¶¶ 36-48; Bankr. D.I. 9354 at 98-105.
 28
    Griggs Decl., Bankr. D.I. 9273 ¶ 39.
 29
    D.I. 1-4 (TDP § I.B). No party has provided evidence that the TDP are inconsistent with
 BSA’s prepetition practices.
 30
    D.I. 1-4 Ex. A at 8-21 and 25-34 (TDP §§ VI-VIII, XII, XIII); D.I. 1-3 at 36-37.
 31
    D.I. 1-4 at 62-64 (Plan § III.B.10); D.I. 1-4 Ex. A at 8-9 (TDP § VI.A); D.I. 1-3 at 37; Bankr.
 D.I. 9273 ¶ 62.
 32
    D.I. 1-4 Ex. A at 8-9 (TDP § VI.A); Bankr. D.I. 9273 ¶ 62.

 DOCS_SF:108205.13 85353/002                      13
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 26 of 71 PageID #: 11383




  The TDP prohibits the Settlement Trustee from seeking reimbursement from the

  Non-Settling Insurance Companies for any portion of the $3,500 Expedited

  Distribution.33

                   2.          Trust Claim Submission

          Holders of Direct Abuse Claims may submit a Trust Claim Submission,

  which includes (a) submitting a completed questionnaire signed under oath, (b)

  producing all documents related to the Abuse Claim and a signed agreement to

  produce further documents or information upon request of the Settlement Trustee,

  and (c) consenting to a Trustee Interview and a written or oral examination, if

  needed.34 The Settlement Trustee considers all information received and

  evaluates, pursuant to the factors set forth in the TDP, the credibility and validity

  of the claim to make the approval or allowance decision.35

          For each Allowed Abuse Claim, the Settlement Trustee assigns a value

  based upon the Claims Matrix and Scaling Factors.36 The Claims Matrix has six

  tiers of abuse types based on the nature of abuse and provides a Base Matrix

  Value and Maximum Matrix Value to each tier.37 The TDP then provide for




 33
    D.I. 1-4 at 9 (TDP § VI.B).
 34
    D.I. 1-4 Ex. A at 9-10 (TDP § VII.A); D.I. 1-3 at 37.
 35
    D.I. 1-4 Ex. A at 10 (TDP § VII.B); D.I. 1-3 at 38.
 36
    D.I. 1-4 Ex. A at 12 (TDP § VII.E); D.I. 1-3 at 40.
 37
    D.I. 1-4 Ex. A at 14-16 (TDP § VIII.A); D.I. 1-3 at 38-40.

 DOCS_SF:108205.13 85353/002                     14
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 27 of 71 PageID #: 11384




  individualized damages assessments based upon applicable aggravating factors

  (that increase the value of the claim) or mitigating factors (that decrease the value

  of the claim), which process is consistent with BSA’s pre-petition settlement

  practices.38

                   3.          Tort System Alternative

          If the holder of an Allowed Direct Abuse Claim is not satisfied with the

  Allowed Claim Amount, the holder may request reconsideration.39 If unsatisfied

  with the reconsideration result, the holder may elect the Tort System Alternative,

  under which a court of competent jurisdiction determines the value of the Direct

  Abuse Claim.40 If the judgment amount exceeds the Maximum Matrix Value for

  the applicable tier, the excess amount is subordinated.41 In the Tort System

  Alternative, the Settlement Trustee must provide notice to any applicable Non-




 38
    D.I. 1-4 Ex. A at 16-20 (TDP § VIII.C-D); Bankr. D.I. 9273 ¶ 60.
 39
    D.I. 1-4 Ex. A at 13 (TDP § VII.G); D.I. 1-3 at 40-41.
 40
    D.I. 1-4 Ex. A at 25 (TDP § XII.A); D.I. 1-3 at 40.
 41
    D.I. 1-4 Ex. A at 27 (TDP § XII.G); D.I. 1-3 at 41.

 DOCS_SF:108205.13 85353/002                     15
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 28 of 71 PageID #: 11385




  Settling Insurance Company to defend the lawsuit in accordance with the terms of

  any applicable Abuse Insurance Policies.42

                   4.          Independent Review Option

          Holders of Direct Abuse Claims may elect to participate in the Independent

  Review Option (“IRO”) within six months of the Effective Date.43 The IRO

  provides an opportunity for the holders of egregious Direct Abuse Claims to be

  reviewed to determine whether they should be awarded an amount in excess of the

  Matrix Values.44 Under the IRO, an independent, neutral third party selected from

  a panel of retired judges with tort experience assesses the claim and makes a

  settlement recommendation to the Settlement Trustee.45 The neutral party must

  apply the same standard of proof that would apply under applicable law and also

  afford any applicable Non-Settling Insurance Company notice and the ability to

  participate in the process.46

          The IRO explicitly allows for insurer participation throughout the process.

  Specifically, the IRO requires that the applicable insurers: (a) receive prompt

  notice of any claim where the Direct Abuse Claimant has elected the IRO, (b) be




 42
    D.I. 1-4 Ex. A at 12 (TDP § VII.D); D.I. 1-3 at 41.
 43
    D.I. 1-4 Ex. A at 4 (TDP § III.B); D.I. 1-3 at 42.
 44
    Bankr. D.I. 9398 ¶¶ 132-134); D.I. 1-3 at 41.
 45
    D.I. 1-4 Ex. A at 4 (TDP § III.A); D.I. 1-3 at 41-42.
 46
    D.I. 1-4 Ex. A at 4 (TDP § III.A); D.I. 1-3 at 42-43.

 DOCS_SF:108205.13 85353/002                      16
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 29 of 71 PageID #: 11386




  given a reasonable opportunity to participate in the IRO, and (c) receive notice of

  and request for consent to the settlement recommendation.47

          Under the IRO, claimants must advance administrative fees, provide detailed

  evidence, and establish that the claim is not barred by the statute of limitations.48

  Specifically, claimants must: (a) elect to participate in the IRO and complete and

  submit the Trust Claim Submission within six months after the Effective Date;

  (b) submit a Sexual Abuse Survivor Proof of Claim; (c) pay administrative fees

  between $10,000-$20,000; (d) confirm that the Direct Abuse Claimant was in

  Scouting or attended a Scouting-related event where the Abuse occurred;

  (e) provide evidence that the alleged perpetrator was in a Scouting unit or worked

  or volunteered at a Scouting-related event; (f) provide evidence that the claim is

  timely under the applicable statute of limitations; (g) provide evidence of

  negligence (or other liability) by either the Debtors, Local Council, or Chartered

  Organization; (h) provide evidence of damages sustained (such as medical and

  counseling records) supported by an expert report, at claimant’s own expense; and

  (i) submit to discovery, including an up to six-hour interview, mental health

  examination, or supplemental interrogatory responses at the discretion of the




 47
    D.I. 1-4 Ex. A at 31-32 (TDP § XIII.K).
 48
    D.I. 1-4 Ex. A at 30-31 (TDP § XIII.G); D.I. 1-3 at 42.

 DOCS_SF:108205.13 85353/002                     17
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 30 of 71 PageID #: 11387




  neutral or upon request of an applicable insurer, in which such insurer may then

  attend and participate.49

          Only after a Direct Abuse claimant satisfies these requirements and the

 applicable insurer has an opportunity to participate and be heard does the neutral

 issue a settlement recommendation, which may range from zero to a value no more

 than five times greater than applicable Maximum Matrix Value.50 The fact that the

 neutral party is only issuing a settlement recommendation provides additional

 procedural guardrails to the process.

                   5.          Additional Protections for Non-Settling Insurance
                               Companies
          In addition to the provisions noted above, the TDP contain other provisions

 that safeguard the rights of the Non-Settling Insurance Companies. For example,

 (a) the insurers’ rights of setoff and recoupment (to the extent permitted under

 applicable law) are preserved to allow the insurers to assert any deductible

 obligation or self-insured retention against the Trust, subject to defenses51 and

 (b) the insurers’ defenses are preserved in any court review of the allowed amount

 of an Indirect Abuse Claim.52




 49
    TDP § XIII.G.
 50
    D.I. 1-4 Ex. A at 28-29 (TDP § XIII.A).
 51
    D.I. 1.4 at Ex. A at 6 (TDP § IV.B, n.1), 8 (TDP § V.C).
 52
    D.I. 1-4 at 24-25 (TDP § XI.C); see also at 27 (TDP § XII.F).

 DOCS_SF:108205.13 85353/002                      18
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 31 of 71 PageID #: 11388




 VI.      ARGUMENT

          A.       Summary of Good-Faith Argument

          Over the course of the lengthy trial,53 the Bankruptcy Court determined that

 the Plan was proposed in good faith under section 1129(a)(3) of the Bankruptcy

 Code.54 The good-faith determination is a factual inquiry that is assessed on a

 case-by-case basis in light of the totality of the circumstances surrounding the

 establishment of the plan. The Insurers’ brief cites to more than three dozen cases,

 few of which actually involve the denial of confirmation for a lack of good faith

 and none of which presents facts remotely similar to these cases. The facts in the

 record do not demonstrate that the Plan resulted from collusion, conflict of

 interests, or a breach of fiduciary duty, and do not evince the egregious

 circumstances required to demonstrate a lack of good faith. Accordingly, the

 Court should affirm the Bankruptcy Court’s finding that the Plan was proposed in

 good faith.

          B.       Good-Faith Under Section 1129(a)(3)

          Under the good-faith requirement,55 “‘the important point of inquiry is the

 plan itself and whether such a plan will fairly achieve a result consistent with



 53
    D.I. 1-3 at 1 n.1
 54
    D.I. 1-1 at 6, ¶ II.D.
 55
    See 11 U.S.C. § 1129(a)(3); W.R. Grace, 729 F.3d at 348; Confirmation Opinion, D.I. 1-3 at
 212 n.621.

 DOCS_SF:108205.13 85353/002                   19
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 32 of 71 PageID #: 11389




 the objectives and purposes of the Bankruptcy Code.’” PWS Holding, 228 F.3d

 at 242 (quoting In re Abbotts Dairies, 788 F.2d 143, 150 n.5 (3d Cir. 1986)); In re

 Maremont Corp., 601 B.R. 1, 20 (Bankr. D. Del. 2019) (finding good faith where a

 plan provides a “fair and equitable” resolution of personal-injury claims that results

 from extensive arms’ length negotiations with the major stakeholders).

          Whether a plan has been proposed in good faith is a factual inquiry, assessed

 on a case-by-case basis in light of the totality of the circumstances surrounding the

 establishment of the chapter 11 plan. W.R. Grace, 475 B.R. at 87. Bankruptcy

 courts have “considerable discretion in finding good faith,” “are in the best

 position to ascertain the good faith of the parties’ proposals,” and thus, “district

 and circuit courts should carefully consider any recommendations from the

 bankruptcy court on appeal.” Id.

          The “good faith” standard used by the Bankruptcy Court is consistent with

 the standard applied by courts throughout the Third Circuit.56 The Insurers also

 fundamentally agree that the foregoing describes—in broad terms—the appropriate

 legal standard of “good faith” under section 1129(a)(3) of the Bankruptcy Code.57

 However, the Insurers, through unsupported argument and citation to irrelevant,




 56
    D.I. 1-3 at 212-213.
 57
    D.I. 43 at 59-60

 DOCS_SF:108205.13 85353/002                20
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 33 of 71 PageID #: 11390




 factually distinguishable case law, misconstrue the undisputed facts in an attempt

 to fit within the narrow “egregious” circumstance exception.

          The Bankruptcy Court specifically considered and overruled the Insurers’

 objections to the Plan on this basis,58 finding the Plan “fosters a result consistent

 with the [Bankruptcy] Code, is proposed for the purpose of reorganizing and

 delivers value to creditors.”59

          C.       The Bankruptcy Court Properly Employed a
                   “Totality of Circumstances” Approach in
                   Considering the Good Faith of the Plan
          The Insurers insist that the Bankruptcy Court erroneously took a “piecemeal

 approach” in its good-faith analysis, allegedly viewing the evidence in isolation, as

 opposed to employing a “totality of the circumstances” approach. To the contrary,

 the Bankruptcy Court engaged in a totality of the circumstances analysis in these

 cases—considering and determining that each good-faith challenge to the Plan was

 unsupported. A good-faith determination based on the Bankruptcy Court’s step-

 by-step consideration necessarily means that these steps, when considered together,

 also demonstrate good faith. See W.R. Grace, 475 B.R. at 87-91 (whether a plan

 has been proposed in good faith is a factual inquiry, assessed on a case-by-case

 basis in light of the totality of the circumstances surrounding the establishment of



 58
    D.I. 1-1 at 6, ¶ II.D; D.I. 1-3 at 212-235.
 59
    D.I. 1-3 at 239.

 DOCS_SF:108205.13 85353/002                      21
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 34 of 71 PageID #: 11391




 the chapter 11 plan; court looked “piecemeal” at each of the factors of good-faith

 and at each of the elements of the objectors good faith arguments).

          The Insurers, however, then make an unsupportable and illogical leap:

 Although each circumstance analyzed in detail by the Bankruptcy Court supports a

 finding of good faith, somehow, when taken together, the Debtors’ conduct in

 proposing the Plan represents bad faith. However, the Insurers fail to produce any

 evidence of improper acts or purposes not considered, addressed, and rejected by

 the Bankruptcy Court. It strains credulity that the Bankruptcy Court cannot take

 each issue, argument, and/or objection and address each separately—and then

 consider them all as part of its overall analysis and determinations.

          The Bankruptcy Court’s seriatim consideration (and dismantling) of each of

 the arguments raised by the Insurers is not tantamount to a failure to consider the

 totality of the evidence in making its overall good-faith finding. The Bankruptcy

 Court properly considered each argument of “bad faith” and collusion raised by the

 Insurers and found that the evidence did not support their assertions, as follows:

        Issue Raised by          Bankruptcy Court’s Determinations Based on a
            Insurers                     Consideration of the Record

  Drafting of the TDP –        “Based on this record, I cannot find that Debtors
  Whether the Debtors          colluded with the Coalition or other plaintiff
  “ceded the pen” to the       representatives to intentionally deprive insurers of
  claimant groups              their rights. I cannot find that Debtors abdicated their




 DOCS_SF:108205.13 85353/002               22
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 35 of 71 PageID #: 11392




        Issue Raised by         Bankruptcy Court’s Determinations Based on a
            Insurers                    Consideration of the Record
  (Confirmation Opinion,       responsibility to negotiate a plan or proceeded in bad
  D.I. 1-3 at 213-217          faith.” (p. 216)
  (§ IV.B.1.a))
                               “The Insurers’ arguments that Debtors colluded with
                               the Coalition, rather than negotiated with the
                               Coalition, is wholly unsupported by the record.” (p.
                               217)

  The TCC Term Sheet –         “Based on the timeline of Dr. Bates’s reports and the
  Bates testimony and          record at the hearing, I find no collusion.” (p. 219)
  requested findings
  (Confirmation Opinion,
  D.I. 1-3 at 217-222
  (§ IV.B.1.b))

  Quantum of Liability –       “I reject out-of-hand the notion that this explosion of
  Explosion of Claims          claims, alone, could be grounds for denial of
                               confirmation.” (p. 223)
  (Confirmation Opinion,
  D.I. 1-3 at 222-224          “A debtor’s ability to obtain a good faith finding
  (§ IV.B.1.c))                necessary for confirmation certainly cannot turn on
                               the number of claims filed, whether plaintiff lawyers
                               advertised for clients or whether plaintiff lawyers
                               filed claims in derogation of applicable rules. The
                               remedy for inappropriate behavior, if any, rests with
                               state supreme courts and/or disciplinary counsel
                               around the country, any appropriate remedy in this
                               court for personal who failed to perform appropriate
                               diligence before signing proofs of claim and
                               appropriate procedures in the TDP to ferret out any
                               fraudulent claims. Denying confirmation, however, is
                               not an appropriate or proportional remedy.” (p. 224)




 DOCS_SF:108205.13 85353/002               23
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 36 of 71 PageID #: 11393




        Issue Raised by         Bankruptcy Court’s Determinations Based on a
            Insurers                    Consideration of the Record

  The Trust Distribution       “I am also not convinced that the TDP will
  Procedures (Harrington       necessarily result in increased cost or liability to Non-
  testimony)                   Settling Insurance Companies. While, of course,
                               there is the potential, it is really not possible to know
  (Confirmation Opinion,
                               until claims are assessed.” (p. 224)
  D.I. 1-3 at 224-231
  (§ IV.B.1.d))                “I do not accept [Professor Harrington’s] opinions
                               regarding the impact of the TDP (or his reading of
                               them), the Findings, or his conclusions about the
                               ‘difficulty’ an insurance company may face in future
                               coverage litigation.” (p. 230)
                               “Accepting Professor Harrington’s opinions leads to
                               one of three conclusions, all of which I reject. One, a
                               company facing mass tort liability cannot file
                               bankruptcy because an insurer’s quantum of liability
                               will, of necessity, increase. Two, an insurer must be
                               given the right to develop or approve trust
                               distribution procedures designed to liquidate personal
                               injury claims or the insurer’s contract rights will,
                               necessarily be compromised or it will be ‘more
                               difficult’ to raise positions in subsequent insurance
                               coverage litigation. This position gives too much
                               leverage to insurance companies. Three, a plan and
                               trust distribution procedures must be ‘insurance
                               neutral.’ As I have already found, this is a standing
                               concept. While it is a tool debtors may choose to use
                               and may offer significant benefits to a bankruptcy
                               case, ‘insurance neutrality’ is not required.” (p. 231)
                               “In any event, on the record presented, I do not
                               conclude that any potential increase in the quantum of
                               liability precludes a finding of good faith under
                               § 1129(a)(3).” (p. 231)



 DOCS_SF:108205.13 85353/002               24
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 37 of 71 PageID #: 11394




        Issue Raised by          Bankruptcy Court’s Determinations Based on a
            Insurers                     Consideration of the Record

  Statutes of Limitation /      “I conclude that these objections do not prevent a
  Negligence                    good faith finding because the objections are not
                                grounded in ‘law.’ There is no ‘law’ that prevents a
  (Confirmation Opinion,
                                defendant (or putative defendant) from settling with
  D.I. 1-3 at 232-235
                                or paying a claim made by a personal injury claimant
  (§ IV.B.1.e))
                                whose claim is time barred.” (p. 233)
                                “Further, the TDP take into account a potential statute
                                of limitations defense through the mitigating Scaling
                                Factors. . . . In the abstract, I cannot find based on
                                the record before this court that this result means the
                                Plan was not proposed in good faith. Nor can I
                                conclude based on the record before the court, that
                                the payment, or even existence of this claim,
                                increases the quantum of liability for any primary
                                insurer much less any excess insurer.” (p. 234)
                                “Similarly, there is no ‘law’ that prevents a defendant
                                (or putative defendant) from settling with or paying a
                                claim made by a personal injury claimants who has
                                not proven negligence. . . . [Other than wordsmithing
                                TDP Article VII.C.2(c) to reflect the Debtors’ intent
                                and include the term negligence], the Insurers’
                                objection are overruled.” (pp. 234-235)


          There is simply no support for the Insurers’ assertions that the Bankruptcy

 Court failed to apply the correct approach to determine good faith.




 DOCS_SF:108205.13 85353/002                25
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 38 of 71 PageID #: 11395




           D.      Denial of Confirmation Based on a Lack of
                   Good Faith Is an Extraordinary Remedy That Is
                   Only Applied in the Most Egregious of Circumstances
           Denial of a plan based on a lack of good faith is confined to the most

 egregious cases where there is clear evidence of collusion, conflict of interests,

 or a breach of fiduciary duty. See In re American Capital Equip., 688 F.3d

 145, 158 (3d Cir. 2012); In re TCI Holdings, LLC, 428 B.R. 117, 142-45 (Bankr.

 D.N.J. 2010). “[S]cant evidence” and “innuendo” are insufficient to establish a

 lack of good faith. PWS Holding, 228 F.3d at 242.

                   1.          The Cases Cited by the Insurers Are
                               Inapposite and Have No Bearing
                               on the Bankruptcy Court’s Finding
                               That the Plan Was Proposed in “Good Faith”
           The cases cited by the Insurers involve circumstances that bear little

 resemblance to those presented in the Plan.

           American Capital60 involved an appeal from an order converting a

 bankruptcy case to chapter 7 because the debtor’s plan was determined to be

 unconfirmable at the disclosure statement stage—a situation inapplicable to the

 Plan here. The court’s discussion regarding “good faith” focused on the debtor’s

 financial condition and the unusual structure proposed in its plan, specifically: (a)

 unlike BSA, which is putting up substantial funding for the Plan, the debtor had no




 60
      Cited in Insurers’ Brief, D.I. 43 at 3, 6, 59, 66, 71 and 72.

 DOCS_SF:108205.13 85353/002                         26
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 39 of 71 PageID #: 11396




 assets to distribute to creditors or attorneys; (b) the underpinning of the plan was a

 surcharge imposed on asbestos claimants, who would have to pay 20% of any

 recoveries to a “Plan Payment Fund” to pay the debtor’s other creditors and

 attorneys; (c) the Plan Payment Fund in that case existed solely to pay off other

 creditors and insurers rather than to pay future asbestos litigants or generate profits

 to do so (whereas the funding of the Trust established under BSA’s Plan benefits

 all holders of Abuse Claims, including Future Abuse Claims); (d) the debtor

 admitted that the only way that creditors and attorneys could be paid was if

 asbestos litigants secured settlements from it, creating a conflict of interest not

 present in the Debtors’ cases where, instead, the Trust already is funded with $2.5

 billion in cash and other assets; (e) the plan did not create, as the Plan does here, a

 trust to address claims after confirmation; (f) there was no channeling injunction,

 as there is here, to protect the debtor or insurers from future claimants; and (g)

 unlike BSA, the debtor there made no contribution to the trust, but rather planned

 to pull money from it. Id. at 151-52, 159, 160. The Debtors’ Plan shares none of

 the characteristics with the plan in American Capital.

           Moreover, although the Insurers cite to American Capital to support their

 unfounded accusations of collusion,61 in that case, the Third Circuit was “not

 convinced the [plan was] collusive because insurers have not pointed to any


 61
      D.I. 43 at 6.

 DOCS_SF:108205.13 85353/002                27
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 40 of 71 PageID #: 11397




 evidence of an agreement to defraud insurers,” even where the plan was intended

 to maximize the availability of insurance. Id. at 158. Similarly here, despite the

 Insurers’ unfounded allegations of supposed “collusion,” they adduced no evidence

 whatsoever of anything that even approaches an agreement to defraud.

          The Insurers also cite In re Coram Healthcare Corp., 271 B.R. 228 (Bankr.

 D. Del. 2001),62 where the bankruptcy court found a lack of good faith because the

 debtors’ CEO failed to disclose an employment contract with a significant creditor

 through which the CEO was paid approximately $1 million per year and was

 required to obey the creditor’s instructions. Id. at 233-40. In denying

 confirmation, the court found that this conflict of interest was “a violation of his

 fiduciary duty to the Debtors and the estate and is so pervasive as to taint the

 ‘Debtors’ restructuring of its debt, the Debtors’ negotiations towards a plan, even

 the Debtors’ restructuring of its operations.’” Id. at 232, 240 (quoting record).

 Again, the Insurers fail to cite any facts in the record that the Debtors’ management

 breached their fiduciary duties or were subject to a conflict of any kind.

          In In re ACandS, Inc., 311 B.R. 36 (Bankr. D. Del. 2004),63 the bankruptcy

 court found that the debtor’s plan had not been proposed in good faith because the

 debtor was defunct and the plan had been drafted primarily by and for the benefit



 62
    D.I. 43 at 66.
 63
    D.I. 43 at 66.

 DOCS_SF:108205.13 85353/002               28
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 41 of 71 PageID #: 11398




 of certain prepetition asbestos plaintiffs or their professionals, and memorialized a

 prepetition settlement to the detriment of other similarly situated claimants. Id. at

 42-43. The plan created a trust that would hold a security interest in certain of the

 debtor’s insurance proceeds for the benefit of settling asbestos plaintiffs, which

 were divided into five categories of secured claims, certain of which were assured

 of payment in full while others were unlikely to receive anything. Id. at 39. The

 bankruptcy court remarked that, other than “vague assertions, no cogent

 explanation or rationale [was] ever . . . given for these categories or how claims

 held in certain law firms’ ‘inventories’ were categorized,” noting that “members of

 the prepetition committee appear prominently in all of the secured categories.” Id.

 at 40 (emphasis added). The court found the proposed arbitrary treatment of

 similar claims violated Bankruptcy Code section 524(g)(2)(B)(ii)(V), which

 requires a trust to “provide reasonable assurance that the trust will value, and be in

 a financial position to pay, present claims and future demands that involve similar

 claims in substantially the same manner.” Id. at 42.

          In stark contrast to the defunct debtor in ACandS, the Debtors are a century-

 old operating nonprofit entity with ongoing national operations. The Debtors’

 restructuring has been guided by robust governance at multiple levels: The record

 in these cases is replete with references to the involvement, control, and decision-

 making processes of the Debtors’ National Executive Board (NEB), National



 DOCS_SF:108205.13 85353/002                29
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 42 of 71 PageID #: 11399




 Executive Committee (NEC) and Bankruptcy Task Force (BTF).64 The Insurers

 have produced no evidence that the TCC or any other survivor group was in a

 position to exercise control—let alone unbridled dominance—over the Debtors in a

 manner that resulted in preferential treatment to certain claimants, as the

 committee was found to have done in ACandS. Here, the Plan treats all current and

 future claims similarly, and there is no allegation otherwise by the Insurers.

          Further, the Insurers cite In re Global Industrial Technologies, 645 F.3d

 201, 209, 214 (3d Cir. 2011),65 in which insurance companies appealed an order

 denying them standing to challenge confirmation of the debtor’s plan of

 reorganization. Id. at 203-204. In remanding the case to the bankruptcy court for

 further proceedings, including a determination of whether there was collusion

 between debtor’s counsel and counsel for plaintiffs’ claimants regarding the

 creation of class of silica claims (that were not the impetus for the filing of the

 bankruptcy case) in exchange for support of the plan’s treatment of asbestos

 claims, the Third Circuit emphasized the extremely limited nature of its holding:

                   The decision we announce is no more far-reaching than
                   this: when a federal court gives its approval to a plan
                   that allows a party to put its hands into other people’s

 64
    See, e.g., D.I. 1-3 at 2 and n.10 (describing the operations of the NEB and NEC, including
 record citations); Bankr. D.I. 9341 at 21:6-21 (describing BTF operations); Bankr D.I. 9280
 ¶¶ 13, 59, 74-78, 84, 94, 111, 116, 129-31, 145, 159, 165, 187, 208 (advising NEC and BTF on
 various aspects of the bankruptcy and Plan); Bankr. D.I. 9482 at 23:10-17 (NEC meeting with
 the Survivor Working Group); Bankr. D.I. 9279at ¶¶ 31-35, 38-45, 49-51, 55-57 (discussing
 insurer settlement agreements).
 65
    D.I. 43 at 5, 73 and 77.

 DOCS_SF:108205.13 85353/002                   30
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 43 of 71 PageID #: 11400




                   pockets, the ones with the pockets are entitled to be fully
                   heard and to have their legitimate objections addressed.
                   In short, they at least have bankruptcy standing.

 Id. at 204.

          In that case, the court may have had good reason for concern: The debtors

 contacted asbestos claimants’ attorneys representing clients with silica-related

 claims against other companies to dramatically increase the number of silica-based

 claims and obtain sufficient votes to confirm their plan. Id. at 205. At the

 confirmation hearing it was revealed that certain physicians generated a

 suspiciously “high volume” of diagnoses that, at a high rate, proved to be

 inaccurate, and an unusual number of claimants were diagnosed with both silica-

 and asbestos-related diseases. Id. at 207.

          Neither “good faith” nor section 1129(a)(3) (nor any other provision of

 section 1129 for that matter) are mentioned in the decision. Unlike Global

 Industrial, in these cases, the Insurers—who were heavily involved in litigating the

 Plan and—do not contend that they were denied standing to challenge any matters

 before the Bankruptcy Court. Moreover, on that case’s remand, the bankruptcy

 court determined that there was no evidence of collusion and that confirmation of

 the plan, creation of asbestos and silica trusts, and issuance of channeling

 injunctions were in the best interests of the debtors and their creditors. In re




 DOCS_SF:108205.13 85353/002                   31
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 44 of 71 PageID #: 11401




 Global Indus. Techs., 2013 Bankr. LEXIS 594, *1, *6-7, *92-93, *170-171 (Bankr.

 W.D. Pa. Feb. 13, 2013).

          The Insurers reference In re Emerge Energy Servs., 2019 Bankr. LEXIS

 3717 (D. Del. Dec. 5, 2019),66 for the proposition that if a plan is proposed with

 ulterior motives it should not be confirmed. But the court in Emerge Energy found

 that the plan was the “result of good faith, arms-length, and meaningful

 negotiations among the Debtors’ key stakeholders[,] . . . rooted in the Debtors’

 sound business judgment” and was “intended to preserve the Debtors’ operations

 and deliver as much value as possible to those creditors entitled to it.” Id. at *47-

 49.

          The court noted that any “power imbalance” between the debtors and their

 secured lenders did not “taint the negotiations or suggest bad faith on the part of

 the Debtors for pursuing the Plan and its proposed restructuring.” Id. at *48-49.

 The court further noted that the plan was “intended to preserve the Debtors’

 operations and deliver as much value as possible to those creditors entitled to it.”

 Id. at *49.

          In re Integrated Telecom Express, 384 F.3d 108, 120 (3d Cir. 2004), also

 cited by the Insurers,67 does not discuss section 1129(a)(3)’s requirement that a



 66
    D.I. 43 at 60, 69.
 67
    D.I. 43 at 67.

 DOCS_SF:108205.13 85353/002               32
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 45 of 71 PageID #: 11402




 plan be proposed in good faith; instead, the case focuses on the requirement

 implied by Bankruptcy Code section 1112(b) that a bankruptcy case be filed in

 good faith or be subject to dismissal. See id. at 118. The court found that the

 debtor, unlike BSA, was financially healthy and cash rich with no real intention of

 reorganizing or liquidating as a going concern and had filed for bankruptcy to

 reduce the debtor’s landlord’s claim under Bankruptcy Code section 502(b)(6). Id.

 at 129. Integrated Telecom has no application here, both because the Insurers are

 not arguing the Debtors’ cases should be dismissed as bad faith filings and because

 the facts are highly distinguishable.

           Official Comm. v. Nucor Corp. (In re SGL Carbon Corp.), 200 F.3d 154 (3d

 Cir. 1999), is another bad-faith bankruptcy filing case cited by the Insurers.68 In

 SGL, the court found that the debtor had prematurely filed for chapter 11 to gain an

 unfair tactical advantage over certain prepetition civil antitrust plaintiffs where the

 proposed plan filed with the bankruptcy petition provided payment in full for all

 creditors other than the antitrust judgment creditors. Id. at 167. SGL’s holding and

 facts are also irrelevant here.




 68
      D.I. 43 at 6, 60, 67, 70 and 72.

 DOCS_SF:108205.13 85353/002               33
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 46 of 71 PageID #: 11403




                               a.    The Debtors Negotiated With and
                                     Did Not Cede the Drafting of the
                                     Plan or TDP to the Survivor Representatives
           The Insurers assert that the Bankruptcy Court erred because the Debtors

 allegedly ceded the drafting of the Plan and TDP to the Survivor Representatives

 and relied exclusively on the subjective testimony of Debtors’ insurance counsel,

 Adrian Azer, as to his intent regarding the impact of the Plan on insurers’ rights.69

 The Insurers’ argument is, at best, disingenuous, and is belied by the record that

 the Bankruptcy Court considered in connection with the Insurers’ argument.

           The Bankruptcy Court carefully considered the testimony of Mr. Azer

 regarding the development of the TDP as well as Mr. Azer’s testimony that it was

 his intent to protect the rights of the insurers in the development of the TDP and

 the Plan; but the Bankruptcy Court did not rely solely on Mr. Azer’s testimony that

 he intended to protect the insurers’ rights. As set forth in the Confirmation

 Opinion, the Bankruptcy Court considered the following additional facts:

                   Mr. Azer, Debtors’ insurance counsel, penned the initial
                   draft of the TDP. . . . To do so, he reviewed draft trust
                   distribution procedures sent to him by Hartford’s counsel
                   in February as well as trust distribution procedures from
                   other mass tort cases. . . . The first filed version of the
                   TDP did not contain any of the Coalition’s proposals.

                   Thereafter, Mr. Azer never gave up the pen. Mr. Azer
                   testified that Debtors had an interest in the TDP because
                   they needed a confirmable plan and that they spent

 69
      D.I. 43 at 4, 44, 56, 75-76.

 DOCS_SF:108205.13 85353/002                      34
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 47 of 71 PageID #: 11404




                   significant time negotiating protections for insurers’
                   contractual rights. . . . After much negotiation with the
                   Coalition, the multiple occurrences of this language
                   ended up in one paragraph:

                               Nothing in these TDP shall modify, amend
                               or supplement, or be interpreted as
                               modifying, amending or supplementing, the
                               terms of any Insurance Policy or rights and
                               obligations under an Insurance Policy
                               assigned to the Settlement Trust to the
                               extent such rights and obligations are
                               otherwise available under applicable law
                               and subject to the Plan and Confirmation
                               Order. The rights and obligations, if any, of
                               any Non-Settling Insurance Company
                               relating to these TDP, or any provision
                               hereof, shall be determined pursuant to the
                               terms and provisions of the Insurance
                               Policies and applicable law.70

          The undisputed evidence showed that the TDPs were drafted by the Debtors’

 insurance counsel from a form provided to the Debtors by one of their primary

 insurers—Hartford. It is hardly surprising that the Bankruptcy Court was

 “underwhelmed” by the Insurers’ TDP-based objections to confirmation.71

          Further, the TDP contain numerous protective provisions that preserve the

 Insurers’ rights under their insurance contracts to the extent such rights are not

 inconsistent with the Plan, Confirmation Order, or the Bankruptcy Code, and




 70
    D.I. 1-3 at 213-217 (footnotes, including the Bankruptcy Court’s citations to supporting
 testimony and exhibits, omitted).
 71
    Bankr. D.I. 9616 at 44:45.

 DOCS_SF:108205.13 85353/002                        35
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 48 of 71 PageID #: 11405




 nothing in the Plan or TDP compels the Insurers to fund any Trust settlement.

 Instead, absent a consensual resolution, the Trust and Insurers will have their rights

 and obligations determined in subsequent coverage litigation based on applicable

 law and the terms of the insurance policies.

                               b.   The Increase of Claims Was the
                                    Result of the Deadline Set and
                                    Approved by the Bankruptcy Court
          As to the alleged “explosion” of filed claims against the Debtors, the

 Insurers point exclusively to the actions of certain plaintiffs’ attorneys in allegedly

 bringing this about—failing to provide any evidence whatsoever showing their

 actions were in bad faith or linking their actions to the Debtors. The Bankruptcy

 Court “reject[ed] out-of-hand” the Insurers’ objection to the Plan in this regard,

 determining that “[t]here is no doubt that plaintiff lawyers aggressively advertised

 for clients which, apparently, is nothing new. But there is no evidence from which

 I can conclude that plaintiff firm advertising alone increased the groundswell of

 Direct Abuse Claims.”72

          In fact, the Bankruptcy Court correctly considered a variety of other factors

 that it found may have contributed to the increase in claims in bankruptcy,

 including: (i) the Debtors’ advertising campaign in the bankruptcy cases, which




 72
   Id. at 223; see also id. at 223-224 (stating that the Debtors’ good faith “certainly cannot turn
 on the number of claims filed,” or on the actions of plaintiff lawyers).

 DOCS_SF:108205.13 85353/002                      36
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 49 of 71 PageID #: 11406




 was designed to reach approximately 95.9% of men age 50 and over in the United

 States an average of 6.5 times; (ii) lower barriers to entry in bankruptcy; (iii) a

 more welcoming environment for the assertion of abuse claims (i.e., less

 stigmatization of abuse victims; the “me too” movement); (iv) the opening of

 statute-of-limitations windows that permitted otherwise out-of-statute claims in

 numerous states; (v) solace in numbers (i.e., the knowledge that a claimant was not

 the only abuse victim); and (vi) the bar date (which both invited abuse survivors to

 file claims even if they were out-of-statute and established a deadline by which

 claims had to be filed or be potentially barred forever).73

           Robust noticing programs through the bar date process are encouraged in

 bankruptcy, and such a process was undertaken in these cases. See, e.g.,

 Chemetron Corp v. Jones, 72 F.3d 341, 345-46 (3d Cir. 1995) (due process

 requires notice reasonably calculated to reach all interested parties that conveys all

 the required information, and permits a reasonable time for a response, and

 inadequate notice threatens the debtor’s goal of successful reorganization); In re

 Energy Future Holdings, 619 B.R. 99, 108 (Bankr. D. Del. 2020).

           The Debtors served notice of the Bar Date Order on all known creditors and

 implemented an expansive publication and noticing procedure to afford notice to

 unknown creditors and to reach the Debtors’ primary target audience of men 50


 73
      Id. at 223.

 DOCS_SF:108205.13 85353/002                37
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 50 of 71 PageID #: 11407




 years of age or older.74 The Debtors’ email efforts alone were anticipated to reach

 over 10 million potential claimants.75 The Debtors’ noticing expert provided

 testimony that the noticing plan reached an estimated 95.8% of the target audience

 through a combination of media and that, on average, each member of the targeted

 audience viewed the notice an estimated 6.5 times.76

          Notably, the Bar Date Order provided that claims “time-barred under an

 applicable statute of limitations” should still file a claim prior to the deadline or

 “shall not be treated as a creditor with respect to such claim for the purposes of

 voting and distribution.”77 Courts recognize that “[t]he bar date means just that; it

 is a ‘drop-dead date’ that bars all prepetition claimants who received the required

 notice. Because the [claimants] failed to assert their prepetition claims by the bar

 date and failed to show excusable neglect, those claims are legally dead.” Berger

 v. TWA (In re TWA), 96 F.3d 687, 690 (3d Cir. 1996) (emphasis added).

          Absent BSA’s bankruptcy and the imposition of the claims bar date,

 Survivors not certain they were ready to come forward could have waited,

 regardless of any then-applicable statute of limitations, in the hopes of passage of

 “statute of limitations revival windows” or laws eliminating limitations periods



 74
    Wheatman Declaration [Bankr. D.I. 556] ¶¶ 32, 34.A.iii.
 75
    Bankr. D.I. 557 at 4.
 76
    D.I. 1-3 at 223.
 77
    Bankr. D.I. 695 at 7.

 DOCS_SF:108205.13 85353/002                   38
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 51 of 71 PageID #: 11408




 completely.78 With the imposition of the bar date, however, all Survivors of

 majority age and capable to do so were advised that they were required to file a

 proof of claim by the Bar Date or have their claim barred forever.

           Certainly, as the Bankruptcy Court recognized, to the extent that the so-

 called “explosion” of claims resulted from the Bankruptcy Court-approved

 noticing and publication process, the Insurers could hardly argue that this forms

 any part of a basis of the Debtors’ alleged bad faith.

                   2.          The Negotiation of the Plan Was Consistent
                               With the Debtors’ Obligations to Its Creditors
           One purpose of the Bankruptcy Code, and chapter 11 in particular, is to

 encourage a consensual restructuring of claims against the debtor through the plan

 negotiation process. See Czyzewski v. Jevic Holding Corp., 580 U.S. 451 (2017)

 (“Bankruptcy Code Chapter 11 allows debtors and their creditors to negotiate a

 plan for dividing an estate’s value.”); In re Johnson, 546 B.R. 83, 129-30 (Bankr.

 S.D. Ohio 2016) (commencement of chapter 11 case is an invitation to

 negotiation); In re Genco Shipping & Trading, 509 B.R. 455, 468 (Bankr.

 S.D.N.Y. 2014) (key goal of “mega” chapter 11 cases is for creditors to negotiate

 to reach consensus). Debtors are encouraged to seek resolution with key creditors

 to ensure the consensual confirmation of its plan, even where the creditors



 78
      See D.I. 1-4 Ex. A at 13-14 (TDP § VII.H).

 DOCS_SF:108205.13 85353/002                       39
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 52 of 71 PageID #: 11409




 “vigorously engage[] with the Debtors.” In re M&G, 599 B.R. 256, 260 (Bankr. D.

 Del. 2019) (expected or routine activities in a chapter 11 case include encouraging

 negotiation among parties, commenting and participating in successful plan

 negotiations, and reviewing documents).

          Creating a plan “at the behest” of a debtor’s primary creditor group— i.e.,

 one that garners the support of the major stakeholders—is not inconsistent with

 acting in good faith. In fact, it is precisely what a debtor in bankruptcy should do.

          Ensuring that key parties are content with their plan treatment “may

 ‘obviate[ ] further litigation and, perhaps, [avoid] a denial of plan confirmation.’”

 Id. (quoting In re FF Holdings Corp., 343 B.R. 84, 87 (D. Del. 2006) and In re

 1250 Oceanside Partners, 519 B.R. 802, 808 (Bankr. D. Haw. 2014)) (debtors

 reached settlement with ad-hoc creditor group the day of but prior to confirmation

 in exchange for switching their votes to accepting ballots to garner class

 acceptance).

          In these cases, the Debtors, consistent with the spirit and letter of the

 Bankruptcy Code, negotiated with their major stakeholders the terms of the Plan—

 and its critical components, like the TDP—winning the support of Survivors and

 other parties in interest.




 DOCS_SF:108205.13 85353/002                  40
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 53 of 71 PageID #: 11410




                               a.   The TDP Maximize the Value of the
                                    Debtors’ Assets and Do Not
                                    Increase the Risks of the Insurers
          The Insurers’ complaint that the Debtors proposed a plan “at the Non-

 Settling Insurance Companies’ expense”79 ignores that the rights of BSA under

 their policies are estate assets that the Debtors are obligated to maximize for the

 benefit of their creditor constituencies. See In re Marvel Ent. Grp., 140 F.3d 463,

 474 (3d Cir. 1998) (stating that “among the fiduciary obligations of a debtor-in-

 possession is the ‘duty to protect and conserve property in its possession for the

 benefit of creditors’”) (quoting In re Ionosphere Clubs, 113 B.R. 64, 169 (Bankr.

 S.D.N.Y. 1990)); W.R. Grace, 475 B.R. at 87. Both the Debtors and the Survivor

 Representatives in these cases thus were legitimately focused on their obligation to

 maximize the value of the Debtors’ estates and assets, including particularly the

 unsettled insurance policies, to the extent permitted by the Bankruptcy Code.80

 Nonetheless, in part to protect their insurance assets, the Debtors, with the support

 of the other parties in favor of the Plan, simultaneously provided insurers with

 considerable protections in the Plan that are consistent with the policies of and

 limitations under the Bankruptcy Code.




 79
    D.I. 43 at 60.
 80
    D.I. 1-3 at 216 (“Mr. Azer did, in fact, negotiate to maximize the value of Debtors’ insurance
 assets for the benefit of the Settlement Trust and, ultimately, Abuse Claimants.”).

 DOCS_SF:108205.13 85353/002                     41
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 54 of 71 PageID #: 11411




          The Debtors’ and Survivor Representatives’ efforts to protect the insurance

 assets took three forms.

          First, the Non-Settling Insurance Companies could not be permitted a

 windfall (at the Survivors’ expense) solely based on the Debtors’ bankruptcy—

 requiring the parties to prevent the possibility that the Non-Settling Insurance

 Companies could later obtain a Fuller-Austin result (i.e., a cap on the amount

 insurers pay without regard to the limits under the applicable insurance policies or

 the actual liability incurred). See Fuller-Austin Insulation Co. v. Highlands Ins.

 Co., 135 Cal. App. 4th 958, 997-98, 1000 (2006); see also Flintkote Co. v. Aviva

 PLC, 177 F. Supp. 3d 1165, 1168 (N.D. Cal. 2016) (following Fuller-Austin and

 finding insurers’ obligation to pay was the amount the trust paid to tort victims

 based on the trust payment percentage rather than the tort victims’ actual

 damages).

          Second, the Debtors and the Survivor Representatives sought to ensure that

 nothing in the Plan itself breached the insurance policies in a manner that would

 prevent the Trust from obtaining the insurance benefits. To that end, they were

 careful to avoid creating new rights or protections for the Non-Settling Insurance

 Companies under the Plan or TDP, to avoid providing Non-Settling Insurance

 Companies with a “free pass” from the otherwise applicable impacts of the

 Debtors’ bankruptcy cases on the functioning of the insurance contracts, and to



 DOCS_SF:108205.13 85353/002               42
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 55 of 71 PageID #: 11412




 avoid inserting redundant or ambiguous statements of insurer rights. They also

 balanced this interest with the need to protect the rights and defenses of the

 insurers.81

          As Mr. Azer testified: “We needed to make sure that we were taking into

 consideration the interests of claimants, but also making sure that we preserved the

 rights of our insurers, right? That is a significant asset to the estate, and we needed

 to make sure that we were protecting our insurers’ contractual rights.”82 The

 Bankruptcy Court correctly found that the resulting Plan and TDP did just that. In

 doing so, it considered Azer’s testimony regarding his intent, but appropriately

 relied on the actual language of the Plan and TDP.83 While the Insurers complain

 that the protections are not sufficient to safeguard their rights,84 they cite no case or

 principle—other than their own desire for a windfall—that they alone should be




 81
    See, e.g., D.I. 1-3 at 214.
 82
    Bankr. D.I. 9406 at 40:4-17.
 83
    D.I. 1-3 at 215-216. The Bankruptcy Court cited the language from TDP Article V.C (D.I. 1-4
 at 8) that preserves the insurers’ rights:


          Nothing in these TDP shall modify, amend or supplement, or be interpreted as
          modifying, amending or supplementing, the terms of any Insurance Policy or
          rights and obligations under an Insurance Policy assigned to the Settlement Trust
          to the extent such rights and obligations are otherwise available under applicable
          law and subject to the Plan and Confirmation Order. The rights and obligations, if
          any, of any Non-Settling Insurance Company relating to these TDP, or any
          provision hereof, shall be determined pursuant to the terms and provisions of the
          Insurance Policies and applicable law.
 84
    D.I. 43 at 85.

 DOCS_SF:108205.13 85353/002                     43
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 56 of 71 PageID #: 11413




 exempt from any effects of bankruptcy law, or from a court order, which they had

 the opportunity to contest.

          Third, the Survivor Representatives have a particular interest in creating

 TDP that fairly value claims and are supported by evidence because insurers

 otherwise may use the TDP as an excuse for refusing to pay settlements under their

 policies, claiming they are unreasonable.85 Thus, contrary to the Insurers’

 assertions, TDP that result in unreasonable, unsupportable, or inflated claims

 values do not serve the interests of claimants.86

          If, notwithstanding the Supporting Parties’ best efforts, the TDP produce

 results that are unreasonable in any particular case, the applicable insurer can

 decline to pay the claim and assert its position in subsequent coverage litigation.

 Numerous courts have found that this adequately protects an insurer’s rights. See

 W.R. Grace, 446 B.R. at 132 (“[T]he mere fact that the Trust pays a claim does not

 bind the non-settling insurer to reimburse the Trust. The insurer retains its rights to




 85
    See, e.g., In re W.R. Grace & Co., 446 B.R. 96, 132 (Bankr. D. Del. 2011); Arch Ins. Co. v.
 Murdock, 2019 Del. Super LEXIS 227, at *10-12 (May 7, 2019); Reasonableness standard,
 generally, 14A Couch on Ins. § 204:120; 44 Am. Jur. 2d Insurance § 1391.
 86
    The claims value ranges for specific abuse types were initially provided by the Debtors, in
 consultation with their national counsel, based on historical evidence, and were not modified by
 the Survivor Representatives. See D.I. 1-3 at 220 (detailing the Debtors’ consistent position that
 the TDP claims values have always reflected their historical abuse settlements and litigation
 outcomes, as supported by confirmation testimony of Mr. Griggs and Dr. Bates); id. at 19–20
 (describing the testimony of BSA’s prepetition resolutions of abuse claims); id. at 58-65
 (describing Dr. Bates’s expert review of the BSA Historical Abuse Claims in constructing his
 expert opinion on the likely aggregate values of Direct Abuse Claims).

 DOCS_SF:108205.13 85353/002                     44
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 57 of 71 PageID #: 11414




 object to the claim against it if and when the Trust seeks to recover from the

 insurer.”).

          The Insurers’ position that they are entitled to prevent confirmation of a Plan

 that enables settlements to which they may not consent but that preserves their

 defenses is inconsistent with their rights outside of bankruptcy. Outside of

 bankruptcy, insureds may settle without their insurers’ consent. The consequence,

 depending on the particular policy and law, is that the insureds may or may not be

 able to compel reimbursement from the insurer for their settlement payment.87

                               b.   The TDP Provide an Appropriate Mechanism for
                                    Determining the Validity of Claims
          Addressing the allowance of all of the over 90,000 Direct and Indirect Abuse

 Claims through court proceedings was never feasible for any party in terms of time

 or money. The Plan provides for addressing these claims through the Trust

 Documents, including the TDP, to be operated under the supervision of the

 independent Settlement Trustee.88 No evidence has been adduced that the approval

 of Direct Abuse Claims under the TDP will result in unreasonable, unsupported, or



 87
    Armstrong World Indus., v. Aetna Cas. & Sur., 45 Cal. App. 4th 1, 85 (1996) (“[E]ven if the
 insurer has not denied coverage or refused to defend, the insurer has a duty to accept a
 reasonable settlement . . . .”); Prohibit settlement by insured, 14A Couch on Ins. § 202:7-8
 (insured is permitted to enter into reasonable settlements without losing recovery rights where
 the insured unjustifiably refuses to defend); 44 Am. Jur. 2d Insurance § 1391 (examples of when
 the insured is permitted to enter into reasonable and good faith settlements without insurer
 consent without forfeiting coverage).
 88
    D.I. 1-1 at 9, § J.2. (“The allowed amount of Direct Abuse Claims, either individually or in the
 aggregate, will be determined pursuant to the Trust Distribution Procedures.”)

 DOCS_SF:108205.13 85353/002                     45
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 58 of 71 PageID #: 11415




 inflated claim values that the Insurers would be compelled to pay. The Bankruptcy

 Court was not convinced that the TDP will necessarily result in increased cost or

 liability to Non-Settling Insurance Companies, noting that, “[w]hile, of course,

 there is the potential, it is really not possible to know until claims are assessed.”89

 Further, the Bankruptcy Court did “not accept [Professor Harrington’s] opinions

 regarding the impact of the TDP (or his reading of them), the Findings, or his

 conclusions about the ‘difficulty’ an insurance company may face in future

 coverage litigation.” 90

          Importantly, the insurer is not compelled by the Plan or TDP to pay a claim

 just because it is tendered by the Settlement Trustee. If the Responsible Insurer

 declines to pay, the Settlement Trustee is placed in the same position as a

 policyholder prepetition and may pursue remedies under the insurance policies and

 applicable law against such insurer.91 When an insurer litigates such a dispute, it

 retains all its rights under the insurance policies, including any coverage defenses

 other than as set forth in the Plan or Confirmation Order or that are not otherwise

 available under applicable law.




 89
    D.I. 1-3 at 224.
 90
    Id. at 230.
 91
    D.I. 1-4 Ex. A at 31-32 (TDP § XIII.K).

 DOCS_SF:108205.13 85353/002                  46
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 59 of 71 PageID #: 11416




          E.       Resolution of Claims Through Trust Distribution
                   Procedures Is a Hallmark of Mass Tort Cases
          The Insurers assert that the Plan “seeks to rewrite insurance policies by

 eviscerating contractual rights and obligations that would apply in the tort system .

 . . and replaces that system with dispute resolution that aligns BSA with the

 claimants.”92 The Insurers erroneously presuppose that their policies contain an

 unassailable right to require their policyholder to resolve claims exclusively in the

 tort system. However, the Insurers’ own standard-form policies recognize that the

 insurers remain obligated to pay, even if their policyholder is in bankruptcy—

 which necessarily includes resolving claims through a bankruptcy-based process

 rather than the state tort system.93 In mass tort cases since 1985, the “bankruptcy


 92
    D.I. 43 at 57.
 93
    See Houston v. Edgeworth (In re Edgeworth), 993 F.2d 51, 54 (5th Cir. 1993) (“[I]t makes no
 sense to allow an insurer to escape coverage for injuries caused by its insured merely because the
 insured receives a bankruptcy discharge.”); UNR Indus. v. Continental Cas. Co., 942 F.2d 1101,
 1105 (7th Cir. 1991) (reversing district court’s finding that the insured’s covered loss was the
 amount the settlement trust actually pays to tort victims on the ground that it conferred a
 “windfall” on the debtor’s insurers and was contrary to applicable law); Owasaki v. Jet Fla. Sys.
 (In re Jet Fla. Sys.), 883 F.2d 970, 975 (11th Cir. 1989) (“The ‘fresh-start’ policy is not intended
 to provide a method by which an insurer can escape its obligations based simply on the financial
 misfortunes of the insured.”); Nat’l Union Fire Ins. Co. v. Porter Hayden Co., 2012 U.S. Dist.
 LEXIS 29568, *15 (D. Md. Mar. 6, 2012) (“The Bankruptcy Code is not intended to enable
 insurers to evade their indemnity obligations. The notion that bankruptcy of the insured should
 not accrue to the benefit of the insurers is well-established.”); ARTRA 542(g) Asbestos Trust v.
 Fairmont Premier Ins. Co., 2011 U.S. Dist. LEXIS 118884, *5 (N.D. Ill. Sept. 30, 2011) (“The
 court finds no support for Transport’s assertion that the provisions prevent the trust from
 asserting that the policy language and Illinois law require Transport to indemnify it for any
 covered claims at the full amount of the claim rather than at the bankruptcy discount rate.”);
 Chapman v. Bituminous Ins. Co. (In re Coho Res.), 345 F.3d 338, 343 (5th Cir. 2003)
 (“fundamentally wrong” to allow an insurer to escape coverage merely because the insured
 receives bankruptcy discharge); Tucker v. Am. Int’l Grp., 745 F. Supp. 2d 53, 65 (D. Conn.
 2010) (“[C]ourts have ‘reasoned that the insurance company should not be entitled to gain a
 benefit that was not intended or in any way computed within the rate charged for its policy.’”)
 (quoting Jet Fla. Syst., 883 F.2d at 975.).

 DOCS_SF:108205.13 85353/002                     47
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 60 of 71 PageID #: 11417




 court-approved process” has included resolution of claims through a trust, with

 standardized and streamlined processes to allow equitable and timely payment of

 claims.94 This typical trust structure provides a fair and equitable mechanism for

 pro rata distribution to claimants from debtors with limited assets.95 Indeed, no

 mass-tort bankruptcy case, or resulting coverage case, has ever held that insurers

 are entitled to insist that their policyholders be forced to resolve claims against

 them in the tort system. To do so would frustrate the Bankruptcy Code’s

 requirement of equitable treatment for similarly situated claims by requiring a

 “race to the courthouse” for access to limited insurance assets.




 94
    See Federal-Mogul Glob., 684 F.3d at 361 (stating that all 56 asbestos personal-injury trusts as
 of May 2011 had trust distribution procedures to govern how claims are processed and
 compensated, many of which were funded in part by insurance settlements); In re Mallinckrodt
 plc, No. 20-12522 (Bankr. D. Del. Oct. 12, 2020) (misleading marketing of opioids); In re
 Paddock Ent. LLC, No. 20-10028 (Bankr. D. Del. Jan 6, 2020)(asbestos liability); In re Purdue
 Pharma LP, No. 19-23649 (Bankr. S.D.N.Y. Sept. 15, 2019)(opioids); In re PG&E Corp., No.
 19-30088 (Bankr. N.D. Cal. Jan 29, 2019)(wildfire-related liabilities); In re USA Gymnastics,
 No. 18-09108 (Bankr. S.D. Ind. Dec. 5, 2018) (sexual abuse); In re TK Holdings, Inc., No. 17-
 11375 (Bankr. D. Del. June 25, 2017) (liability for airbag malfunctions); In re Kaiser Gypsum
 Co., No. 16-31602 (Bankr. W.D. N.C. Sept. 30, 2016) (asbestos); In re Hovensa LLC, No. 15-
 10003 (Bankr. D.V.I Sept. 15, 2015)(environmental liability); In re Yarway Corp., No. 13-11025
 (Bankr. D. Del. April 22, 2013) (asbestos); In re Metex Mfg. Corp., No. 12-14554 (Bankr.
 S.D.N.Y. Nov. 9, 2012)(asbestos).
 95
    See In re Kaiser Gypsum Co., 2021 U.S. Dist. LEXIS 146354, at *57-58, 61 (W.D.N.C. July
 28, 2021) upholding bankruptcy plan despite insurer objections that the plan was not proposed
 in good faith and the trust distribution procedures were improper, due to alleged collusion to
 keep insured claims in the tort system)(appeal filed, No. 21-1858 (4th Cir. Aug. 9, 2021); In re
 Paddock Enter., 2022 Bankr. LEXIS 1521, *94 (Bankr. D. Del. May 31, 2022); Francis E.
 McGovern, The Evolution of Asbestos Bankruptcy Trust Distribution Plans, 62 NYU Annual
 Survey of Am. Law 163, 175 (2006) (generally describing the history of trust distribution
 procedures in mass tort bankruptcies since the Manville trust was established in 1985, and stating
 that TDPs “became necessary to allocate scarce resources equitably among qualified claimants”).

 DOCS_SF:108205.13 85353/002                     48
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 61 of 71 PageID #: 11418




           For these reasons, the Bankruptcy Court properly recognized that providing

 insurers with veto rights on the TDP would give insurers too much power.96 It

 would be inappropriate for a nonfiduciary party like the Insurers that (in contrast to

 the Debtors and creditors) has no economic interest in the Debtors’ speedy

 reorganization or the maximization of the estate assets to have the final say over a

 fundamental, necessary aspect of the Plan. To the contrary, the Insurers benefit

 from extending the Debtors’ reorganization proceedings: as long as the Debtors’

 automatic stay is in place, they benefit from delaying resolution of claims that

 would trigger their payment obligations and expenditure of defense costs. Stated

 simply, the Insurers’ interests are in direct conflict with the Debtors’ duties to its

 creditors. See In re Kaiser Gypsum, 2021 U.S. Dist. LEXIS 146354, at *43-44

 (stating that “there is no requirement that a plan satisfy the desires of an insurer”

 and finding it unsurprising that the insurer did not reach settlement with the parties

 ‘to reduce its unlimited obligations under [its] Policies to a fixed or other limited

 amount,” and that failure to reach settlement was “certainly no basis for an

 objection”).




 96
      D.I. 1-3 at 231.

 DOCS_SF:108205.13 85353/002                49
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 62 of 71 PageID #: 11419




          F.       The Plan and TDP Contain Numerous
                   Provisions That Specifically Preserve the
                   Rights of Non-Settling Insurance Companies
          The Insurers cite In re Combustion Engineering, 391 F.3d 190 (3d Cir.

 2004), to suggest some categorical, judicial mandate to specially preserve any and

 all contractual rights of insurers in a chapter 11 case (which is not the case as

 discussed herein), and that any purported efforts by the debtors to negotiate or

 litigate such matters constitute bad faith.97

          Combustion Engineering centered on jurisdictional and statutory issues

 regarding the nondebtor release of asbestos claims by way of section 105 of the

 Bankruptcy Code instead of section 524(g), which governs the release of asbestos

 claims.98 Notably, there was no claim of bad faith made by the insurers. The

 bankruptcy court’s approval of the plan was vacated because the injunction issued

 under section 105(a) was not authorized.99 Nothing in the Third Circuit’s opinion

 suggests any collusion or fraud or allegations thereof with respect to the debtors’

 posture and actions toward the insurers. Nor did the court in Combustion

 Engineering suggest that insurers were entitled to plan neutrality language or

 protections except in the circumstance where, as in that case, they were denied

 standing to object to the plan.


 97
    D.I. 43 at 65.
 98
    391 F.3d at 233, 244.
 99
    Id. at 236-38.

 DOCS_SF:108205.13 85353/002                50
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 63 of 71 PageID #: 11420




          Contrary to the Certain Insurers’ assertions, the Plan and TDP are designed

 to preserve the rights of the Certain Insurers consistent with the Bankruptcy Code.

 The Plan and TDP do not compel the Certain Insurers to pay any individual awards

 under the TDPs. Instead, the Plan and TDP contain numerous provisions that

 preserve the Non-Settling Insurance Companies’ rights under the policies, as well

 as the ability of the Non-Settling Insurance Companies to assert those rights in

 future coverage litigation.

          Moreover, to the extent the Insurers’ rights may be affected by the Plan

 (such as through the assignment of the Debtors’ policies), such impact is

 authorized by way of federal preemption of the Bankruptcy Code over insurers’

 prepetition state law rights. In re Fed.-Mogul Global Inc., 684 F.3d 355, 365-82

 (3d Cir. 2012). In this regard, the Third Circuit in Federal-Mogul properly

 recognized that in certain cases, the Bankruptcy Code’s goal of successful

 reorganizations trumps the contractual rights of insurers, finding that debtors can,

 for example, as part of a chapter 11 plan under section 1123(a), properly transfer

 “rights under [debtors’] insurance policies to a post-confirmation trust

 notwithstanding policies” anti-assignment clauses. 684 F.3d at 365-82.

          G.       Modifications to the Plan Prior to Confirmation Do Not Evidence
                   a Lack of Good Faith

          Courts regularly consider and allow modifications to a plan prior to and in

 connection with confirmation, as expressly provided for in the Bankruptcy Code.


 DOCS_SF:108205.13 85353/002                51
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 64 of 71 PageID #: 11421




 See 11 U.S.C. § 1127(a) (“The proponent of a plan may modify such plan at any

 time before confirmation,” provided certain requirements are satisfied, by filing

 modification of such plan with the court.).100 Nevertheless, the Insurers argue that

 the Bankruptcy Court should not have considered modifications to the Plan when it

 determined the Plan was proposed in good faith.101

          The Insurers cite In re Grasso, 490 B.R. 500 (Bankr. E.D. Pa. 2013),102

 arguing that the Bankruptcy Court should have in some manner penalized the

 Debtors for proposing certain plan and/or confirmation order provisions and not

 permitted the Debtors to remove such provisions from the Plan. In Grasso, a

 debtor lied to the court and other parties regarding actions that required court

 approval and, against that backdrop, the court rejected a “no harm, no foul”

 judicial approach (i.e., the ends do not justify the means). See id. at 509-11. There

 is no parallel between the situation in Grasso and the case here.




 100
    Paddock Enters., 2022 Bankr. LEXIS 1521, at *96 (approving post-solicitation plan
 modifications under § 1127(a) after finding that Bankruptcy Rule 3019 was satisfied because the
 modifications did not adversely change treatment of any claim or interest without written
 consent); Combustion Eng’g, 391 F.3d at 202 (describing plan modifications made by the
 debtors, creditors, bankruptcy court, and district court, none of which were ultimately rejected on
 the basis that modifications were per se inappropriate).

 101
     While the Bankruptcy Court declined to make certain findings in the Plan, it did so because
 they were unnecessary for purposes of confirmation and not because they were proposed in bad
 faith or for ulterior purposes. D.I. 1-3 at 176-184 (§ III.A), 184-185 (§ II.B), 185-187 (§ III.C),
 and 188-189 (§ III.E).
 102
     D.I. 43 at 69.

 DOCS_SF:108205.13 85353/002                      52
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 65 of 71 PageID #: 11422




          The Insurers also cite to In re RTI Holding Co., 2021 Bankr. LEXIS 2952

 (Bankr. D. Del. Oct. 27, 2021),103 which addressed whether a postconfirmation

 state-court action was an improper collateral attack on the confirmation order. The

 court held the state action was not a collateral attack because the action did not

 affect the handling of the bankruptcy estate. While the RTI court did state that

 “[t]he requirement of § 1129(a)(3) ‘speaks more to the process of plan

 development than to the content of the plan,’” it further explained that the good-

 faith requirement relates strictly to the proposed plan, its contents, and, depending

 on the circumstances, its negotiation (to the extent it could shed light on the plan’s

 contents and parties’ intentions), and not purported good or bad faith in other

 chapter 11 matters. Id. at *25.

          Similarly, the Insurers refer, without any discussion or analysis, to Emerge

 Energy (discussed infra) and In re Genesis Health Ventures, Inc., 266 B.R. 591,

 609 (Bankr. D. Del. 2001).104 In Genesis, the objecting parties contended that the

 plan was not in good faith because the confirmation process moved too quickly and

 certain junior creditors were not provided for in the plan.105 In the end, the

 bankruptcy court rejected such objections and lauded the debtor for moving

 promptly through the confirmation process and noted that the treatment for junior


 103
     D.I. 43 at 70.
 104
     D.I. 43 at 69-70.
 105
     266 B.R. at 609-10.

 DOCS_SF:108205.13 85353/002                53
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 66 of 71 PageID #: 11423




 creditors was appropriate because the senior lender was undersecured.106

 Importantly, the bankruptcy court, like here, required the debtor in Genesis to

 modify its plan before it would confirm it.107

          Thus, these cases provide no support for an argument that the Bankruptcy

 Court in the Debtors’ cases should not have considered modifications to the Plan in

 its consideration of whether the Plan was proposed in good faith.

       VII.        CONCLUSION

          For the foregoing reasons, the Court should deny all pending appeals and

 affirm confirmation of the Debtors’ Plan, allowing all parties to move forward

 toward global resolution of the Abuse Claims.




 106
     Id.
 107
     Id. at 608-09.

 DOCS_SF:108205.13 85353/002               54
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 67 of 71 PageID #: 11424




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 DOCS_SF:108205.13 85353/002              55
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 DOCS_SF:108205.13 85353/002             56
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 69 of 71 PageID #: 11426




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  In re Boy Scouts of America and                 Chapter 11
  Delaware BSA, LLC,
                                                  Bankruptcy Case
                    Debtors.                      No. 20-10343 (LSS)

  National Union Fire Insurance Co. of            (Jointly Administered)
  Pittsburgh, PA, et al.,
                    Appellants.                   Case No. 22-cv-01237-RGA
                               v.
  Boy Scouts of America, et al.,
              Appellees.

                                    CERTIFICATE OF COMPLIANCE
          The foregoing brief complies with the word limit set by the Court. A

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 DOCS_SF:108205.13 85353/002
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 70 of 71 PageID #: 11427




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 DOCS_SF:108205.13 85353/002
Case 1:22-cv-01237-RGA Document 89 Filed 12/07/22 Page 71 of 71 PageID #: 11428




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